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EXHIBIT LL

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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

MDL No. 1456

Master File No. 01-CV-12257-PBS

IN RE: PHARMACEUTICAL INDUSTRY

AVERAGE WHOLESALE PRICE LITIGATION

THIS DOCUMENT RELATES TO:

United States of America ex rel.
Ven-A-Care of the Florida Keys, Inc.,
et al., v. Dey, Inc., et al.,

Civil Action No. 05-11084-PBS

(Cross caption follows on next page.)

July 23, 2008

9:01 a.m.

VOLUME IV

Continued Videotaped Deposition

of JOHN LOCKWOOD, M.D.

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time; but I think that link to home health
providers did create interest for us in
inhalation drugs because we felt that was an
issue that was occurring.

Q. Can you walk me through in particular
how your investigation of Roxane drugs
progressed? In other words give me some details
in terms of once you noticed that inhalation
drugs were involved in these split fee
arrangements and that utilization was going up,
what did you do to specifically target Roxane?

A. Um, I think we -- we saw the prices in
the marketplace going down over time and we saw
the AWP and/or WAC prices were, as I recall,
fairly stable, I don't recall them going up right
now, although I don't know for sure. I don't
think they went up -- my recollection is they
were fairly stable -- but the prices were eroding
in the marketplace and at the same time we saw
utilization of the drugs sky- rocketing in
Medicare and Medicaid well over their utilization

when the brand, only the brand was available.

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Q. So what did you do in terms of
investigating Roxane? Did you look at the prices
that were in the marketplace?

A. Yes, we did, we looked at the prices
available in the marketplace, um, we had a
variety of sources to look at pricing for Roxane
and we had prices that actually went back, as I
recall, in the '94-95 time frame on some of
Roxane's drugs; but we looked at essentially the
evolving marketplace for ipratropium and I would
say that the wholesalers, certainly the generic
distributors, often sent information out on sort
of all of the available inhalation drugs
together, in many circumstances, so that that may
also have played some role in the whole, the
whole thing, meaning that as we were looking at
Albuterol we started getting information on
ipratropium as well.

Q. I want to take a step back to something
you said a moment ago, which was that you had
several sources of pricing for Roxane drugs. I

want to focus just in particular on ipratropium

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bromide since that's the drug that was named in
the Ven-A-Care Complaints up until 2005.

A. Um hum.

Q. And my question is what were the
sources for Ven-A-Care's prices for Roxane's
ipratropium bromide?

A. I would say they were very similar of
the sources that we had for Albuterol. There
were the generic distributors and the generics --
J.J. Balan and I think there are others -- were
marketing those drugs, sometimes telemarketing
inhalation drugs, I don't -- I don't recall
specifically if they were doing Roxane's drug on
that, but those wholesalers.

We also had a McKesson catalog that
showed the McKesson list price for ipratropium
and how that changed over the years and, as I
recall, we also had information from Greater New
York Hospital Association, which became
Innovatix, which was a GPO. Later on we had
information from Servall, the GPO Servall.

Florida Infusion may have carried that drug, I'm

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not sure, that was also a distributor type
wholesaler.

So we had a number of sources that
involved pricing directly from wholesalers, both
distributor type wholesalers and full line
wholesalers as well as GPO prices.

Q. What's the distinction you draw between
distributor type wholesalers and full line
wholesalers?

A. You know, I don't draw a lot of
distinctions. They both have the same wholesale
license, as far as I know, in most states; but in
Many circumstances, but not all circumstances,
distributors tend to buy low and sell higher, and
they don't do chargebacks; whereas many of the
full line wholesalers are in the business of
buying high and selling lower, which involves the
whole chargeback mechanism, if -- if there is a
contract involved.

So, um, and it's interesting that if
you buy at the list price from McKesson, the list

price at McKesson is many times much, much higher

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